        Nicholas J Henderson, OSB #074027
        nhenderson@portlaw.com
        Troy G. Sexton, OSB #115184
        tsexton@portlaw.com
        Motschenbacher & Blattner LLP
        117 SW Taylor St., Ste. 300
        Portland, OR 97204
        Phone: 503-417-0500
        Fax: 503-417-0521

                  Of Proposed Attorneys for Debtor-in-Possession

                                    UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF OREGON

         In re:
                                                             Case No. 19-34296-pcm11
         CREATIVE LIGHTING SOLUTIONS, INC.,

                                 Debtor.


                                            NOTICE – LBR 9019-1(B)

                  PLEASE TAKE NOTICE: If you oppose the proposed course of action or relief sought in

        the attached motion, you must file a written objection with the bankruptcy court within 14 days

        after the date listed in the certificate of service below. If you do not file an objection, the court

        may grant the motion without further notice or hearing. Your objection must set forth the specific

        grounds for objection and your relation to the case.

                  The objection must be received by the clerk of the court at United States Bankruptcy

        Court, 1050 SW 6th Avenue, #700, Portland, OR 97204, by the deadline specified above or it

        may not be considered. You must also serve the objection on Nicholas J. Henderson,

        Motschenbacher & Blattner LLP, 117 SW Taylor Street, Suite 300, Portland, OR 97204, within

        that same time. If the court sets a hearing, you will receive a separate notice listing the hearing

        date, time, and other relevant information.
Page 1 of 1       NOTICE OF MOTION                                                           MOTSCHENBACHER & BLATTNER LLP
                                                                                               117 SW Taylor Street, Suite 300
                                                                                                   Portland, Oregon 97204
{00319748:1}                                                                                        Phone: 503-417-0500
                                                                                                     Fax: 503-417-0501
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                                Case 19-34296-pcm7          Doc 23     Filed 11/25/19
        Nicholas J Henderson, OSB #074027
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        117 SW Taylor St., Ste. 300
        Portland, OR 97204
        Phone: 503-417-0500
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                  Of Proposed Attorneys for Debtor-in-Possession


                                    UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF OREGON


         In re:                                              Case No. 19-34296-pcm11

         CREATIVE LIGHTING SOLUTIONS, INC.,                  DEBTOR’S APPLICATION FOR
                                                             AUTHORIZATION TO EMPLOY
                                  Debtor.                    BANKRUPTCY COUNSEL
                                                             (Motschenbacher & Blattner LLP)


                  Creative Lighting Solutions, Inc., (the “Debtor”), as debtor-in-possession, hereby moves

        this Court for entry of an order authorizing it to employ Motschenbacher & Blattner LLP

        (“M&B”) as its general bankruptcy counsel in this case. In support of this application, the Debtor

        represents:

                                                 BACKGROUND

                  1.     On November 20, 2019, (the “Petition Date”), the Debtor filed herein a voluntary

        petition under Chapter 11 of the Bankruptcy Code. The Debtor is continuing in the management

        and possession of its business and properties as debtor-in-possession under sections 1107 and

        1108 of the Bankruptcy Code. As of the date hereof, no trustee or examiner has been requested



Page 1 of 4       DEBTOR’S APPLICATION FOR AUTHORIZATION TO EMPLOY                       MOTSCHENBACHER & BLATTNER LLP
                                                                                           117 SW Taylor Street, Suite 300
                  BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                           Portland, Oregon 97204
{00314692:2}                                                                                    Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                                                                                                 www.portlaw.com

                                Case 19-34296-pcm7         Doc 23    Filed 11/25/19
        or appointed in this case, and the United States trustee has not appointed an official committee of

        creditors.

                2.       The Debtor is an Oregon corporation licensed in the state of Oregon. Debtor

        specializes in the manufacturing and installation of LED lighting products for businesses and

        venues throughout the Portland metropolitan area.

                3.       M&B commenced rendering prepetition bankruptcy services to the Debtor on

        October 23, 2019. The details concerning M&B’s engagement as bankruptcy counsel, and the

        payments made to M&B in connection with that engagement, are disclosed in the accompanying

        Rule 2014 Statement.

                                                  JURISDICTION

                4.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

        1334 and LR 2100-1. Consideration of this application constitutes a core proceeding within the

        meaning of 28 U.S.C. § 157(b)(2)(A). The statutory predicates for the relief sought by this

        application are sections 327(a) and 1107 of the Bankruptcy Code. Venue is proper under 28

        U.S.C. § 1408.

                                              RELIEF REQUESTED

                5.       By this application, the Debtor seeks entry of an order, effective as of the Petition

        Date, authorizing it to employ M&B as its general bankruptcy counsel in this Chapter 11 case on

        an hourly basis. A proposed form of order is attached as Exhibit 1.

                                          POINTS AND AUTHORITIES

                6.       Subject to further order of this Court, and without being exhaustive, the Debtor

        proposes to engage M&B for purposes of (i) consulting with it concerning the administration of

        the case, (ii) advising it with regard to its rights, powers and duties as a debtor in possession, (iii)

Page 2 of 4     DEBTOR’S APPLICATION FOR AUTHORIZATION TO EMPLOY                             MOTSCHENBACHER & BLATTNER LLP
                                                                                               117 SW Taylor Street, Suite 300
                BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                                 Portland, Oregon 97204
{00314692:2}                                                                                        Phone: 503-417-0500
                                                                                                     Fax: 503-417-0501
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                                Case 19-34296-pcm7          Doc 23     Filed 11/25/19
        investigating and, if appropriate, prosecuting on behalf of the estate claims and causes of action

        belonging to the estate, (iv) advising it concerning alternatives for restructuring its debts and

        financial affairs pursuant to a plan or, if appropriate, liquidating its assets, and (v) preparing the

        bankruptcy schedules, statements and lists required to be filed by the Debtor under the

        Bankruptcy Code and applicable procedural rules.

                 7.     The Debtor has selected M&B for the reason that it believes the firm is well

        qualified to represent it in this case. M&B has substantial expertise in matters relating to

        bankruptcy and business reorganizations.

                 8.     The proposed rate of compensation, subject to this Court’s approval, is the

        customary hourly rates in effect when services are performed by the attorneys and other firm

        personnel who provide professional services to the Debtor. The current hourly rates, which may

        be adjusted periodically, for persons presently designated to work on this case are as follows:

                       Name                           Status                           Hourly Rate
               Nicholas J. Henderson                  Partner                             $400.00
                  Troy G. Sexton                     Associate                            $335.00
                  Jeremy Tolchin                     Associate                            $315.00
                    Sean Glinka                      Associate                            $315.00
                Legal Assistants and               Legal Assistant                   $85.00 to $150.00
                     Paralegals

                 9.     To the best knowledge of the Debtor, except as disclosed in the accompanying

        Rule 2014 Verified Statement for M&B, M&B does not have any connections with the Debtor,

        creditors, any other party in interest, their respective attorneys or accountants, the United States

        trustee or any person employed in the office of the United States trustee, or any District of

        Oregon bankruptcy judge.




Page 3 of 4      DEBTOR’S APPLICATION FOR AUTHORIZATION TO EMPLOY                           MOTSCHENBACHER & BLATTNER LLP
                                                                                              117 SW Taylor Street, Suite 300
                 BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                               Portland, Oregon 97204
{00314692:2}                                                                                       Phone: 503-417-0500
                                                                                                    Fax: 503-417-0501
                                                                                                    www.portlaw.com

                               Case 19-34296-pcm7           Doc 23     Filed 11/25/19
               10.     To the best knowledge of the Debtor, M&B is a disinterested person within the

        meaning of section 101(14) of the Bankruptcy Code and does not represent or hold any interest

        adverse to the interests of the estate or of any class of creditors or equity security holders.

               WHEREFORE, the Debtor requests entry of an order in the form attached hereto as

        Exhibit 1, effective as of the Petition Date, authorizing it to employ M&B as its general

        bankruptcy counsel in this Chapter 11 case in accordance with, with compensation and

        reimbursement of expenses to be paid as an administrative expense in such amounts as the Court

        may allow under sections 330 and 331 of the Bankruptcy Code.



                                                       CREATIVE LIGHTING SOLUTIONS, INC.

        DATED: November 21, 2019                        /s/ Mike Bernards
                                                       By: Mike Bernards
                                                       Its: President




Page 4 of 4     DEBTOR’S APPLICATION FOR AUTHORIZATION TO EMPLOY                            MOTSCHENBACHER & BLATTNER LLP
                                                                                              117 SW Taylor Street, Suite 300
                BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                                Portland, Oregon 97204
{00314692:2}                                                                                       Phone: 503-417-0500
                                                                                                    Fax: 503-417-0501
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                               Case 19-34296-pcm7          Doc 23      Filed 11/25/19
                                  UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF OREGON
In re                                      )           19-34296-pcm11
                                           ) Case
                                              Case No.
                                                   No. ______________
Creative Lighting Solutions, Inc.          )
                                           ) RULE
                                              RULE2014
                                                    2014VERIFIED
                                                          VERIFIED STATEMENT
                                                                    STATEMENT
Debtor(s)                                  ) FOR
                                              FORPROPOSED
                                                  PROPOSEDPROFESSIONAL
                                                                PROFESSIONAL
                                              (Motschenbacher & Blattner LLP)
Note: To
Note:  Tofile
           filean
                anamended
                   amendedversion
                           versionofofthis
                                       thisstatement
                                            statementper
                                                       per1119,
                                                           ¶19, file
                                                                file aa fully
                                                                        fullycompleted
                                                                              completedamended
                                                                                         amended Rule
                                                                                                 Rule 2014
                                                                                                      2014
                    #1114and
statement on LBF #1114    andclearly
                              clearlyidentify
                                       identify any
                                                any changes
                                                    changes from
                                                             from the
                                                                    the previous
                                                                         previous filed
                                                                                  filed version.

 1.
 1. The applicant is not a creditor of the debtor except:
N/A

 2. The applicant
        applicant is not an equity
                            equity security holder of the debtor.

 3. The applicant is not a relative
                           relative of
                                    of the
                                       the individual
                                            individual debtor.

 4. The applicant is not a relative of a general
    The applicant                                partner of the debtor (whether
                                         general partner               (whether the
                                                                                the debtor
                                                                                    debtor is
                                                                                           is an individual,
    corporation, or partnership).

 5. The  applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    The applicant
    is a general partner.

 6. The applicant
        applicant is not a general
                           general partner
                                   partner of
                                           of the
                                              the debtor (whether
                                                         (whether debtor
                                                                  debtor is
                                                                          is an
                                                                             an individual, corporation, or
    partnership).

 7. The applicant
        applicant is
                  is not aa corporation
                            corporation of which the debtor
                                                     debtor is
                                                            is aa director,
                                                                  director, officer,
                                                                            officer, or
                                                                                     or person in
                                                                                               in control.
                                                                                                  control.

 8. The applicant
         applicant is not and was not,
                                    not, within
                                         within two years before the date of
                                                                          of the
                                                                             the filing
                                                                                  filing of the petition,
                                                                                                petition, a
    director, officer,
              officer, or
                       or employee of the debtor.

 9. The applicant
        applicant is not a person
                           person in
                                  in control
                                     control of the debtor.

10. The applicant
        applicant is not aa relative
                            relative of
                                     of aa director,
                                           director, officer
                                                     officer or
                                                             or person in
                                                                       in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was  was not
                                      not an
                                           an investment
                                               investment banker
                                                             banker for for any
                                                                            any outstanding
                                                                                 outstanding security
                                                                                               security of the debtor;
    has not been, within
                     within three years before the the date
                                                        date of
                                                              of the
                                                                  the filing
                                                                       filing of the petition, an investment banker
          security of the debtor, or an
    for a security                       an attorney
                                            attorney for
                                                       for such
                                                           such an an investment
                                                                        investment banker
                                                                                     banker inin connection
                                                                                                 connection with the
                                     security of the debtor; and is not and was not, within two years before
    offer, sale, or issuance of a security
        date of
    the date  of the
                 the filing
                      filing of the petition, a director, officer,
                                                           officer, or
                                                                    or employee
                                                                          employee of such an investment banker.

13. The applicant
        applicant has
                   has read
                        read 11
                             11 U.S.C.
                                 U.S.C. §101(14)  and §327,
                                        §101(14) and  §327,and
                                                            and FRBP
                                                                  FRBP2014(a);
                                                                          2014(a);and
                                                                                    andthe
                                                                                        theapplicant's
                                                                                            applicant’s firm
                                                                                                        firm
    has no connections with the debtor(s), creditors, any party in interest,
                                                                   interest, their respective
                                                                                   respective attorneys and
    accountants, the United States Trustee,
                                     Trustee, or
                                              or any person employed in the office of the United States
             or any
    Trustee, or any District
                    District of Oregon Bankruptcy Judge, except
                                                            except asas follows:
                                                                         follows:
See Continuation Statement 13, attached.




1114
1114 (11/30/09)   Page11 of
      (11/30/09) Page    of 3

                              Case 19-34296-pcm7            Doc 23       Filed 11/25/19
14.      applicant has no interest
14. The applicant          interest materially
                                     materially adverse
                                                adverse to
                                                        to the
                                                           the interest
                                                               interest of
                                                                        of the
                                                                           the estate
                                                                               estate or
                                                                                      or of any class of
    creditors or equity security holders.

15.                                    made to
15. Describe details of all payments made     to you
                                                 you by
                                                      by either
                                                         either the the debtor
                                                                        debtor or
                                                                                or aa third
                                                                                       third party for any services
             on the
    rendered on the debtor's
                     debtor's behalf
                               behalf within
                                      within aa year
                                                year prior
                                                     prior to
                                                            to filing
                                                                filing of this case:
Debtor paid made the following payments to Applicant within a year prior to the filing of this case:
a) $3,220.30 paid on 7/10/2019, and b) $2,645.39 paid on 10/22/2019.
Debtor also paid a retainer of $51,717.00 on October 30, 2019. Of the retainer paid, $1,717 is for the
Chapter 11 filing fee, and $50,000 of the retainer is earned upon receipt (including a $10,000 risk fee).


16.
16. The debtor has the following
                        followingaffiliates
                                  affiliates(as
                                             (asdefined
                                                 definedby by11
                                                              11U.S.C.
                                                                 U.S.C.§101(2)).  Please list
                                                                        §101(2)). Please  list and explain
    the relationship between the debtor and the
                                              the affiliate:
                                                  affiliate:
      Michael Bernards, President and CEO, and 100% shareholder.




17.     applicant is not an affiliate of the debtor.
17. The applicant

18.
18. Assuming any affiliate of the debtor
                                    debtor isis the
                                                 the debtor
                                                     debtor forfor purposes
                                                                    purposesofofstatements
                                                                                 statements4-13,
                                                                                              4-13, the statements
    continue to be true except (list
                                (list all circumstances
                                          circumstances under which proposed counsel or counsel's law
    firm has represented any
                         any affiliate
                               affiliate during the past 18   18 months;
                                                                    months; any position
                                                                                position other than legal counsel
    which proposed
    which    proposed counsel
                      counsel holds
                                holds in     either the
                                         in either    the affiliate,
                                                            affiliate, including
                                                                        including corporate
                                                                                   corporate officer,
                                                                                               officer, director,
                                                                                                        director, or
                    any amount
    employee; and any   amount owed
                                  owed by by the
                                              the affiliate
                                                   affiliate to
                                                              to proposed
                                                                   proposed counsel
                                                                             counsel or its law firm at the time of
    filing, and amounts paid within 18 months
                                          months before
                                                     before filing):
                                                               filing):
     N/A




19. The applicant hereby
19. The            hereby acknowledges
                            acknowledges that
                                          that he/she
                                               he/she has
                                                        has aaduty
                                                              duty during
                                                                    during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in     in this verified statement.
    In the event
           event that
                  that any
                       any such
                            such changes
                                  changes occur,
                                           occur, the
                                                   the applicant
                                                        applicant immediately
                                                                   immediately shall file with the court an
               verified statement on LBF #1114,
    amended verified                      #1114,with
                                                   with the
                                                         the caption
                                                             caption reflecting
                                                                      reflecting that itit is
                                                                                           is an
                                                                                              an amended Rule
    2014 statement
    2014  statement and
                      and any
                           any changes
                               changes clearly
                                       clearly identified.
                                                identified.

THE FOLLOWING QUESTIONS NEED
                        NEED BE
                             BE ANSWERED
                                ANSWERED ONLY
                                         ONLY IF
                                              IF AFFILIATES
                                                 AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever
                                             ever filed
                                                  filed bankruptcy, the filing date, and court where filed:
    N/A




1114
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      (11/30/09) Page    of 3

                              Case 19-34296-pcm7          Doc 23     Filed 11/25/19
21. List the names of any affiliates which have have guaranteed  debt of the debtor or whose debt the debtor
                                                      guaranteed debt
       has guaranteed.    Alsoinclude
           guaranteed. Also    include the
                                       the amount of the guarantee, the date of the guarantee,
                                                                                     guarantee, and whether
            security interest
       any security   interestwas
                                was given
                                     given to
                                            to secure
                                               secure the
                                                        the guarantee.   Only name
                                                            guarantee. Only   name those
                                                                                     those guarantees
                                                                                           guarantees now
                                                                                                        now
       outstanding or outstanding within
                                     within the
                                            the last 18 months:
Michael Bernards executed executed and delivered to Columbia State Bank an unlimited commercial
guaranty dated 8/4/2016. Amount of guaranty $800,000 as of 8/4/2016. No security interest given by
affiliate.




    List the names of
22. List                of any
                           any affiliates
                               affiliates which have aa debtor-creditor
                                                          debtor-creditor relationship
                                                                          relationship with
                                                                                         withthe
                                                                                               the debtor.  Also
                                                                                                    debtor. Also
    include the
    include  the amount
                    amount and
                             and date
                                  date ofof the loan, the amount
                                                           amount of any repayments
                                                                           repayments on  on the   loan and the
                                                                                              the loan
    security, ifif any. Only name
                   any. Only  namethose
                                      thoseloans
                                             loansnow
                                                   nowoutstanding
                                                        outstanding or
                                                                    or paid
                                                                       paid off
                                                                             off within
                                                                                 within the last 18 months:
                                                                                                     months:
    N/A




23. List any security interest in
                                in any property
                                         property granted by the debtor to secure any debts of any affiliate
    not covered
    not  covered inin statements
                      statements 2020 and 21. List Listany
                                                        anysecurity
                                                            security interest
                                                                       interest in
                                                                                 in any
                                                                                    any property
                                                                                         property granted by the
    affiliate to
              to secure
                 secure any debts
                             debts of
                                    of the
                                        the debtor
                                             debtor not
                                                     notcovered
                                                         coveredin instatements
                                                                      statements21   21 and
                                                                                        and 22.  Also include
                                                                                            22. Also  include the
    collateral, the
    collateral,  the date and nature of the the security
                                                 security interest,
                                                          interest, the
                                                                     the name of the the creditor
                                                                                         creditor to whom it was
    granted, and thethe current
                        current balance
                                balance of of the
                                              the underlying
                                                  underlying debt:
    N/A




24. List the name of any
             name of any affiliate
                         affiliate who
                                   who is
                                        is potentially
                                           potentially aa "responsible
                                                          "responsible party" for
                                                                              for unpaid
                                                                                  unpaid taxes of the debtor
    under  26 U.S.C.
    under 26 U.S.C.  §6672:
    N/A




I verify that the above statements are true to the extent of my present knowledge and belief.


                                                                   /s/ Nicholas J. Henderson
                                                                   _______________________________
                                                                                    Applicant

1114
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      (11/30/09) Page    of 3

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    In re: Creative Lighting Solutions, Inc.
    Case No.: 19-34296-pcm11


                                       Continuation Statement No. 13

       1.     Pacific Office Automation is a creditor in the case. Applicant purchases office equipment
from Pacific Office Automation and has an open account as an ongoing customer for copier supplies.
Balances are paid to zero on a monthly basis.

         2.      The spouse of one of Applicant's partners works for Columbia Sportswear, which is an
affiliate of a potential creditor and party in interest in the case.




{00319613:1}


                          Case 19-34296-pcm7        Doc 23    Filed 11/25/19
                             EXHIBIT 1

                        PROPOSED ORDER




{00314692:2}


               Case 19-34296-pcm7   Doc 23   Filed 11/25/19
                                  UNITED STATES BANKRUPTCY COURT

                                             DISTRICT OF OREGON

                                                             Case No. 19-34296-pcm11
         In re:
                                                             ORDER AUTHORIZING EMPLOYMENT
         CREATIVE LIGHTING SOLUTIONS, INC.,                  OF COUNSEL FOR DEBTOR

                                Debtor.                      (Motschenbacher & Blattner LLP)


                  THIS MATTER having come before the Court on the application of Creative Lighting

        Solutions, Inc., Debtor-in-Possession (“Debtor”), for an order authorizing it to employ

        Motschenbacher & Blattner LLP (“M&B”) as attorneys for Debtor [Docket No. ___] (the

        “Application”) to represent the Debtor as debtor-in-possession herein; and the Court being

        advised that M&B represents no interest adverse to the Debtor as debtor-in-possession herein

        (except as disclosed in the second amended Rule 2014 Verified Statement on file herein) on the

        matters upon which the firm is to be engaged, that the firm’s employment is necessary and would

        be in the best interest of the estate; and the Court being otherwise fully advised,


Page 1 of 3       ORDER AUTHORIZING EMPLOYMENT OF BANKRUPTCY                              MOTSCHENBACHER & BLATTNER LLP
                                                                                            117 SW Taylor Street, Suite 300
                  COUNSEL FOR DEBTOR (Motschenbacher & Blattner LLP)                            Portland, Oregon 97204
{00314692:2}                                                                                     Phone: 503-417-0500
                                                                                                  Fax: 503-417-0501
                                                                                                  www.portlaw.com

                               Case 19-34296-pcm7         Doc 23      Filed 11/25/19
                  IT IS HEREBY ORDERED as follows:

               1) Debtor’s Application is approved, and Debtor is authorized to employ the law firm of

        Motschenbacher & Blattner LLP as of the Petition Date as Debtor’s Chapter 11 counsel to

        represent Debtor in conducting the case;

               2) The terms and conditions of M&B’s employment, as set forth in this Order and in the

        Bankruptcy Attorney/Client Fee Agreement attached as Exhibit A, are approved, except as

        modified by this Order, as follows:

                      a. Of the $50,000 minimum fee, earned upon receipt retainer, $40,000 shall be

                          designated as the minimum fee, earned upon receipt retainer, and $10,000 shall be

                          designated as the “risk fee” for services in the event of a conversion of the case to

                          one under Chapter 7;

                      b. The $40,000 minimum fee, earned upon receipt retainer is subject to a review for

                          reasonableness and possible disgorgement as permitted under 11 U.S.C. §§ 329,

                          330. M&B’s allowed fees shall be deducted first from its $40,000 earned-upon

                          receipt retainer, and then from cash collateral under the terms of any applicable

                          cash collateral order.

                      c. The $10,000 “risk fee” shall be credited to approved but unpaid fees to M&B for

                          Chapter 11 services upon entry of an order confirming the plan and, in the event

                          of a conversion of the case to one under Chapter 7, subject to a review for

                          reasonableness and possible disgorgement as permitted under 11 U.S.C. §329

               3) The Debtor shall pay said attorneys for their services, and shall reimburse expenses

        incurred by said attorneys, only upon the entry of an order of the Court approving such fees and

        expenses under 11 U.S.C §§ 330 and 331, and other applicable provisions of the Bankruptcy

Page 2 of 3      ORDER AUTHORIZING EMPLOYMENT OF BANKRUPTCY                                  MOTSCHENBACHER & BLATTNER LLP
                                                                                               117 SW Taylor Street, Suite 300
                 COUNSEL FOR DEBTOR (Motschenbacher & Blattner LLP)                                Portland, Oregon 97204
{00314692:2}                                                                                        Phone: 503-417-0500
                                                                                                     Fax: 503-417-0501
                                                                                                     www.portlaw.com

                                 Case 19-34296-pcm7          Doc 23     Filed 11/25/19
        Code and Local Bankruptcy Rules. This Order shall be effective only if the firm to which it

        applies is a “disinterested person” as defined by 11 U.S.C. §101(14)

                                                      ###

         Order Presented by:

         MOTSCHENBACHER & BLATTNER, LLP                             PARTIES TO SERVE

         /s/ Nicholas J. Henderson                                  ECF Electronic Service:
         Nicholas J. Henderson, OSB #074027                         All parties registered to receive
         Telephone: 503-417-0500                                    notice via CM/ECF.
         E-mail: nhenderson@portlaw.com
         Of Proposed Attorneys for Debtor-in-Possession             Service via First-Class Mail:
                                                                    NONE




Page 3 of 3    ORDER AUTHORIZING EMPLOYMENT OF BANKRUPTCY                               MOTSCHENBACHER & BLATTNER LLP
                                                                                          117 SW Taylor Street, Suite 300
               COUNSEL FOR DEBTOR (Motschenbacher & Blattner LLP)                             Portland, Oregon 97204
{00314692:2}                                                                                   Phone: 503-417-0500
                                                                                                Fax: 503-417-0501
                                                                                                www.portlaw.com

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                             EXHIBIT A

                    ENGAGEMENT MATERIALS




{00314692:2}


               Case 19-34296-pcm7   Doc 23   Filed 11/25/19
                                                                                            N icholas J. H enderson
                                                                             A dmitted in O regon and W ashington
                                                                                            D irect: 503-417-0508
                                                                                        nhenderson@ portlaw.com
                                                                                                www.portlaw.com



                                         October 23, 2019

Via Email: mbernards@gocreativelighting.com
Creative Lighting Solutions, Inc.
Michael Bernards, President
17700 SW Upper Boones Ferry Road
Portland, OR 97224

         Re:   New Client Information

Dear Mike:

       Thank you for choosing me to represent Creative Lighting Solutions, Inc. (“Creative
Lighting”) in connection with its Chapter 11 Bankruptcy. I appreciate this opportunity to serve
Creative Lighting’s legal needs, and I look forward to working with you during the course of this
representation.

         This letter, the attached Bankruptcy Attorney-Client Fee Agreement, and the enclosed
“Information for Clients” explains our fee structure, policies, and office procedures. By retaining
this office, you agree to be bound by the terms set forth in this enclosure. I have also enclosed a
document titled “Attorney-Client Privilege,” which contains information on the preservation of
the confidential nature of our relationship with you.

       As we discussed, we require a $51,717.00 retainer deposit from you in connection with
this matter. Creative Lighting’s retainer will be placed in our client trust account, and we will
draw against the funds on deposit to pay our invoices for fees and expenses incurred prior to the
bankruptcy filing. Once the bankruptcy is filed, we will only draw from the retainer after
obtaining approval from the Bankruptcy Court. Additional information on our client trust
procedures is enclosed.

        Currently, my time is charged at $400.00 per hour and hourly rates for associates range
from $285.00 to $315.00. The hourly rates for legal assistants range from $85.00 to $150.00. I
will utilize associates and legal assistants as much as appropriate to keep your legal bill as low as
possible. Additional information about my firm’s hourly rates and expense policy is included in
the Bankruptcy Attorney-Client Fee Agreement.




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MOTSCHENBACHER & BLATTNER       LLP


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     Page 2


             My direct dial telephone number is 503-417-0508. That number will always reach me or
     my voice mailbox. You can leave messages at that number at any time. If you reach my voice
     mailbox but would prefer to speak to an operator, press 0. I do my best to return all telephone
     calls within 24 hours. Again, please feel free to contact me on my cell phone if you cannot reach
     me at the office.

             If I am unavailable and you need immediate help, please call my assistant, Mary, and she
     will try to reach me or arrange for another attorney in the firm to contact you. Mary’s direct dial
     number is 503-417-0511. Mary also has access to my calendar and can schedule appointments
     for you.

            We have found that our effective representation of a client’s interest is critically
     dependent upon a foundation of mutual trust and confidence. If there is ever a concern regarding
     the progress of any matter we are handling, or if anyone has any questions regarding our
     statements, please do not hesitate to contact me.

              If the terms and conditions of our representation are acceptable, please sign the attached
     Bankruptcy Attorney-Client Fee Agreement, and a signed copy of this letter, and return it to my
     office. I will follow up with additional correspondence about the records and materials we need
     to prepare and file the bankruptcy case.



                                                   Very truly yours,

                                                   MOTSCHENBACHER & BLATTNER          LLP




                                                   Nicholas J. Henderson




                                      SIGNATURE PAGE FOLLOWS




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           I agree to the terms and conditions of engagement set forth above, and in the attached
     documents:

     CREATIVE LIGHTING SOLUTIONS, INC.

     ________________________________
     Michael Bernards, President


     NJH/mep
     Enclosures




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                 BANKRUPTCY ATTORNEY-CLIENT FEE AGREEMENT
                                (Chapter 11)

CLIENT:                 Creative Lighting Solutions, Inc.

ATTORNEY:               Nicholas J. Henderson

FIRM:                   Motschenbacher & Blattner LLP (“Firm”)

DATED:                  October 23, 2019

        Client desires to retain Attorney for, but not limited to, the purposes described in this
Agreement and agrees to be responsible for payment of the Attorney’s fees and costs as
established in this Agreement. Attorney agrees to represent Client under the terms and conditions
of this Agreement and to be compensated at the rates set forth in this Agreement.

        Client requests and the Attorney agrees to render professional services, including (a)
giving the Client legal advice with respect to its business operations; (b) assisting the Client in
any proposed reorganization of its business; (c) if authorized, filing an appropriate petition for
relief under Title 11 of the United States Bankruptcy Code; (d) giving the Client legal advice
with respect to its powers and duties in any proceeding in bankruptcy; (e) proposing on behalf of
the Client all necessary applications, answers, orders, reports or other legal papers; and (f)
performing for the Client any and all other legal services which may be necessary in connection
with the filing of any petition or proceeding in bankruptcy.

        Client and Attorney agree that the Attorney’s compensation for services performed
pursuant to this Agreement shall be the Attorney’s customary hourly rates in effect at the time
the services are performed for the Attorneys, legal assistants, and staff who provide services for
the Client. At the time of the execution of this Agreement, the current hourly rates are as follows:

             Name                                Status                      Hourly Rate
     Nicholas J. Henderson                      Partner                         $400.00
        Troy G. Sexton                         Associate                        $335.00
        Jeremy Tolchin                         Associate                        $315.00
          Sean Glinka                          Associate                        $315.00
      Legal Assistants and                   Legal Assistant               $85.00 to $150.00
           Paralegals

        These hourly rates are subject to periodic adjustment to reflect economic conditions and
increased experience and expertise in this area of law. Attorney’s time and paralegal time is
billed in minimum 0.10 hour increments. Client will be provided with itemized monthly
statements for services rendered and expenses incurred, which will be mailed on approximately
the 10th of each calendar month.




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        Fees. Attorney and Client agree that the actual fees to be incurred in the case are
difficult to predict, because of a variety of factors, many of which are not within the control of
Attorney or Client. Attorney and Client acknowledge that the Bankruptcy Court is entitled to
review Attorney’s fees for reasonableness. The Bankruptcy Court may reduce the amount of the
fees billed in such amount that it determines reasonable based on the totality of the
circumstances, including a consideration of the reasonableness of the fees based on the
circumstances which existed at the time the employment began, as well as a consideration of the
reasonableness of the fee after the services have been rendered and the representation has
concluded. If the Bankruptcy Court requires a reduction in the amount of any fees charged,
Attorney and Client agree that all other terms and conditions of this fee agreement shall continue
to apply.

        Client agrees to pay a retainer fee of $51,717.00 for Attorney’s engagement, which shall
be paid in advance and deemed earned upon receipt or, in the exercise of Attorney’s discretion,
deemed earned on any subsequent date prior to the date Client’s Chapter 11 case is filed. The fee
shall be applied as indicated in this Agreement. Based on a variety of factors and confidential
discussions between Attorney and Client subject to an Attorney/Client privilege, Attorney and
Client agree that the earned on receipt retainer is a reasonable estimate of the minimum amount
of fees Attorney will expend in the case.

        In recognition of the risk that exists in any Chapter 11 case that the Chapter 11 case may
not be successful and, if not successful, that the case will be converted to Chapter 7, and in
further recognition that Attorney will have the obligation to provide services to the Client during
the course of a Chapter 7 case in the event of conversion to Chapter 7, Client desires to provide
payment for such risk in advance. Client and Attorney acknowledge that current bankruptcy law
prohibits payment of the Attorney for Chapter 7 services from the funds of a Chapter 7
bankruptcy estate. Client and Attorney reasonably agree and project that the fees likely to be
incurred by Attorney in a converted Chapter 7 case will likely not be less than $10,000. In
recognition of such potential future liability, Client and Attorney agree that a sum of $10,000 is
reasonable advance compensation to Attorney for the risk assumed by Attorney of services to be
performed in a possible future Chapter 7 case. Attorney and Client further agree that the sum of
$10,000 shall be allocated from the retainer paid to compensate Attorney for the risk of
providing services in a future Chapter 7 case, and that such $10,000 shall be deemed earned on
receipt by Attorney as payment for the risk of having to perform services in a potential future
Chapter 7 case.

       Further provided that upon the occurrence of the Effective Date of any confirmed plan of
reorganization in Debtor’s case, the “Risk Fee” shall be credited to any approved but unpaid
Chapter 11 fees owing to Attorney, and any unused amount will be refunded to the Debtor.

        Attorney and Client agree that the existence of this Agreement shall be adequately
disclosed to the Court and other interested parties, including but not limited to the United States
Trustee. As set forth elsewhere in this Agreement, Attorney shall have the option to require
Client to perform various mailings and advance other significant costs as they become due from
the Client’s ongoing income.



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        In addition to the foregoing hourly rates, Client agrees to be responsible for payment of
all costs incurred in representing the Client. Examples of such costs include filing fees, court
reporter fees, long distance telephone, photocopies (whether made in the Attorney’s office or an
outside printing service), etc. The Attorney’s “Expense Policy Statement” is attached as Exhibit
“A.” A quarterly fee based on disbursements is assessed by the Office of the US Trustee on all
Chapter 11 debtors. A copy of the US Trustee’s fee schedule is attached. Client is responsible for
payment of the quarterly fees.

       Client has been informed and acknowledges that Attorney has no responsibility to hire
outside professionals such as appraisers, accountants, bookkeepers, expert witnesses, etc., unless
those costs are paid in advance by the Client to the Attorney.

        All professionals must also be approved by the Bankruptcy Court before starting work,
or the Court will deny payment to the professional. Client acknowledges it has been informed of
the Court’s rule requiring the filing of a “Monthly Operating Report” (Rule 2015 Report) on the
Court’s form by the 21st day of each succeeding month. The form of such report will be
separately provided to the Client. The Client assumes all responsibility for providing Attorney’s
office with all information necessary to prepare the report not later than the 14th day of the
calendar month. Failure to timely file these reports can result in dismissal of the Chapter 11
proceeding.

        Attorney shall have the option, but not the duty, to proceed with representing Client prior
to payment of the above described retainer. If Attorney performs services prior to receipt of the
retainer, the Attorney may withdraw from representing the Client at any time prior to payment of
the agreed retainer.

        Client agrees to cooperate with Attorney, to complete all forms requested by the Attorney
and to provide the Attorney with all information necessary to enable the Attorney to represent
the Client’s best interests. If Client unreasonably declines to cooperate, or should knowingly
provide the Attorney with false or fraudulent information or testify untruthfully in any matter
before the Court, the Client agrees that Attorney shall have the right to immediately resign. If
permitted by law, should either party find it necessary to take steps to enforce this Agreement,
the costs of doing so, including reasonable Attorney fees both before trial, at trial or after appeal,
as determined by the Court, will be borne by the losing party.

        Client acknowledges that Attorney has advised that the actual Attorney’s fees and
expenses, considering the size and complexity of case, will be substantial. Client acknowledges
that the Attorney has advised that under the rules of the Bankruptcy Court, the Attorney has the
right to submit an application for payment of fees to the court in accordance with the court’s
rules, which will be done as frequently as court rules permit. Such petitions for fees, when
approved, will be paid from the Client’s post-petition income.

       Attorney strives to keep Client informed of the work Attorney is performing, and
Attorney stands ready to explain its services and invoices to Client’s satisfaction. If Client ever
has questions regarding Attorney’s charges, please let Attorney know immediately so that
Attorney can attempt to resolve any concerns fairly and without delay. Also, if Client has a


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particular need relative to Attorney’s invoicing (e.g., the billing format or timing of delivery),
please let Attorney know and Attorney will try to accommodate the Client.

        Client may terminate the attorney/client relationship at any time and for any reason by
delivering to Attorney a written notice of termination. Attorney also reserves the right to
terminate the attorney/client relationship, by delivering to Client a written notice, if Client fails
to pay Attorney when due any amount Client owes Attorney, if Client fails to cooperate with
Attorney or to disclose to Attorney material information, or if for any other reason Attorney feels
Attorney is unable to continue an effective attorney/client relationship, in each case, to the extent
permitted by the applicable rules of professional conduct, and subject to any applicable rules
requiring notice and Court approval. Upon any termination, Client will remain liable for all fees,
costs and expenses incurred prior to the termination of the attorney/client relationship. Upon
termination, Attorney will provide Client with the original or a copy of all Client’s files in
Attorney’s possession, retaining a copy for Attorney in Attorney’s discretion and at Attorney’s
cost. Once Attorney’s representation is terminated, Attorney will have no obligation to inform
Client of due dates, subsequent developments or the like, or to maintain any documents or
dockets relating to Client’s matters.

       Attorney appreciates the opportunity to serve as Client’s attorneys and anticipates a
productive and harmonious relationship. If, however, Client becomes dissatisfied for any reason
with the services Attorney has performed or Client disputes any of the fees, costs or expenses
charged by Attorney, Attorney encourages Client to bring that dissatisfaction or dispute to
Attorney’s attention at the earliest possible time. Most problems should be rectifiable through
such communication. However, should a dispute arise between Attorney and/or Client which
cannot be resolved in that manner, then the Bankruptcy Court will resolve the dispute.

        A solid attorney/client relationship is a two-way street. Lawyers need timely and
complete cooperation and assistance from their clients just as clients need timely and complete
cooperation and assistance from their lawyers. Attorney will therefore endeavor to keep Client
informed of Client’s matters as they progress. Similarly, Client agrees to provide Attorney with
timely responses to requests for documentation and information and to make available to
Attorney personnel in order that Attorney may effectively carry out its function as Client’s
attorneys. Bear in mind that if Attorney does not obtain such cooperation, the quality of
Attorney’s representation may suffer and Attorney may feel constrained to withdraw from any
further work.

     THE ATTORNEY DOES NOT UNDERTAKE TO GIVE THE CLIENT TAX
ADVICE. CLIENT AGREES TO CONSULT ITS OWN ACCOUNTANT OR
COMPETENT TAX COUNSEL, WITH RESPECT TO ALL TAX ISSUES.



                                   SIGNATURE PAGE FOLLOWS




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                     10 / 29 / 2019
DATED:



ATTORNEY:                                                 CLIENT:

MOTSCHENBACHER & BLATTNER, LLP                            CREATIVE LIGHTING SOLUTIONS, INC.


By:                                                       By:
      Nicholas J. Henderson, Partner                            Michael Bernards, President


Attachments:                                                              Initial If Rec’d:

                A.     Expense Policy Statement (Exhibit A)

                B.     U.S. Trustee Quarterly Fee Schedule




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                                             EXHIBIT “A”

                                Attorney’s Expense Policy Statement

Photocopies:            $0.10 per page (in house)

Fax:                    Incoming No Charge; outgoing (including long distance) at actual
                        telephone charges.

Outside Services:       All outside entity bills are charged at actual cost.

Postage:                Postage, express mail and other overnight delivery or air courier services
                        are charged at actual cost.

Long Distance:          Long distance telephone charges are billed to Clients at actual cost.

Computerized
Research:               Actual (i.e., invoiced) cost. Time associated with computerized research to
                        be specifically identified on attorney time detail.

Travel:                 Travel expenses are actual and Air fare is coach or economy class only.
                        Other expenses are actual and do not include limos. Mileage is charged at
                        the rate of allowed for federal tax deductions.

Other Personnel
Charges:                Secretarial overtime is charged to Clients at $30.00 per hour if the
                        overtime work is due to time constraints mandated by the case or the
                        Client, not to exceed the employee’s actual hourly compensation cost to
                        the firm.

Pacer:                  Actual cost ($0.10 per page).

Other:                  Any charges not mentioned above will be charged in accordance with the
                        applicable U.S. Bankruptcy Court Cost Guidelines contained in
                        Bankruptcy Rule 2016.




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                                                          EXHIBIT B



POST-CONFIRMATION                Confirmation is the court’s approval of a plan of reorganization. The Bankruptcy
REPORTS                          Code and Rules require the debtor to file a Post-Confirmation Quarterly Report for
                                 every post-confirmation calendar quarter, including the quarter in which the plan
                                 was confirmed and the quarter in which the debtor files its application for final
                                 decree. 11 U.S.C. § 1106(a)(7) and Fed. R. Bankr. P. 2015(a)(5). More frequent
                                 reporting may be requested on a case-by-case basis.


REPORTS IN CASES                 The debtor must file a schedule of unpaid debts incurred after commencement of
CONVERTED TO                     the Chapter 11 case, within 14 days after entry of an order converting the case to
CHAPTER 7                        Chapter 7; and a final report and account, within 30 days after entry of the order
                                 converting the case. Fed. R. Bankr. P. 1019(5)


STATUTORY QUARTERLY              A Chapter 11 debtor must pay quarterly fees to the United States Trustee until the
FEES                             case is dismissed, converted, or closed by final decree. 28 U.S.C. § 1930(a)(6).
                                 The Code further provides that for a plan to be confirmed, all quarterly fees must
                                 be paid timely or the plan must provide for payment of all fees on the effective date
                                 of the plan. 11 U.S.C. § 1129(a)(12). The debtor’s failure to timely pay quarterly
                                 fees is cause for conversion or dismissal of a Chapter 11 case. 11 U.S.C.
                                 § 1112(b)(4)(K).

                                 The fee for each calendar quarter is based on total payments or disbursements
                                 made by the debtor’s estate during the quarter, including payments made by
                                 another party for the debtor. The fee is calculated as follows:

                                                   NEW STATUTORY FEE SCHEDULE
                                                      Effective January 1, 2018

                                      If disbursements for the calendar quarter       Then the quarterly
                                             are within these amounts. . .               fee due is. . .
                                              From                   To
                                                      -0-     $14,999.99                         $325
                                                 $15,000      $74,999.99                         $650
                                                 $75,000     $149,999.99                         $975
                                               $150,000      $224,999.99                       $1,625
                                               $225,000      $299,999.99                       $1,950
                                               $300,000      $999,999.99                       $4,875
                                              $1,000,000 or more                       1% of quarterly
                                                                                    disbursements or
                                                                                             $250,000
                                                                                    whichever is less.

                                                                                                 Send your payment and
                                 For calendar                  A fee payment                   quarterly fee payment stub
                                 quarter ending . . .           is due on . . .                           ONLY
                                                                                                        *****
                                 March 31. . . . . . . . . . . . . . . . . April 30
                                 June 30 . . . . . . ....................... July 31 Any disbursement stubs, monthly operating
                                                                                    reports, correspondence, court notices, etc., sent
                                 September 30 .................... October 31
                                                                                           to the lockbox will be destroyed.
                                 December 31 ..................... January 31




   Chapter 11 Guidelines                                                                                                                 Page186)
   Region 18, United States Trustee                                                                                           (Rev’d January 20
   Chapter 11 Guidelines 1.5.18




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                              ATTORNEY-CLIENT PRIVILEGE

        Communications between lawyers and their clients are generally privileged. Disclosure
of confidential communications between a lawyer and client cannot be compelled at trial or in a
deposition.

         The evidentiary privilege attaching to attorney-client communications is a significant
advantage in open communications with our clients. Neither you nor we can be compelled to
testify regarding privileged communications, and in most cases we are ethically prohibited from
disclosing your secrets and confidences without your consent.

         You should be aware, however, that the attorney-client privilege is easily lost. Any
voluntary disclosure of a significant part of a privileged communication will waive the
privilege. For example, if you show a letter from your lawyer to a non-client business associate
or relative, the privilege may be destroyed and the communication could become subject to
discovery and examination at trial. Oral disclosure or forwarding an e-mail may also destroy the
privilege.

       In order to preserve the privilege, we and you must take reasonable precautions to avoid
disclosure. We therefore discourage discussion of confidential information over cellular or
portable telephones (including retrieval of confidential voice mail messages by cellular
telephone). Our office voice mail system is secure, but caution requires that voice mail
messages not include confidential information. Internet communications (e-mail) should be
encrypted or limited to non-confidential matters.

        We are ethically and legally obligated to maintain your confidences and keep your
secrets. We will do so. Attorney-client confidentiality is second nature to those of us in the
business of providing legal services. This memorandum is to ensure that you, too, are aware of
the importance of maintaining our communications in confidence in order to preserve the
privilege and ensure that disclosure of our communications cannot be compelled.

       Please let us know if you have questions about the nature of the attorney-client privilege.




                                                                     I:\Admin\New Client\_2016\Attorney-Client Privilege.doc
                                                                                                                  3/31/2016



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                                      INFORMATION FOR CLIENTS
MOTSCHENBACHER & BLATTNER LLP is pleased to have the opportunity to serve you. This memorandum
contains information about our standard client service practices and billing procedures that will apply to your
account unless we have agreed otherwise in writing. Your request of legal services from MOTSCHENBACHER &
BLATTNER LLP indicates your acceptance of these terms. We strive to ensure that legal services are delivered
effectively, efficiently, and professionally and that all billings are accurate and understandable. Please feel free to
call us with any questions you may have.

Personnel                                                       reputation, and abilities of the lawyers serving you;
                                                                past investment in developing files and data; the
One lawyer will be assigned primary responsibility
                                                                amount at issue; the results obtained; and time
for your legal needs. Additional lawyers may assist
                                                                limitations imposed by you or by the circumstances of
from time to time when appropriate. We assign
                                                                the matter. Hourly rates of our lawyers and legal
lawyers and other personnel on the basis of
                                                                assistants reflect fees generally charged in the
experience, expertise, and the nature and scope of the
                                                                Northwest based on the lawyers' experience and
issues. This provides you with an appropriate level of
                                                                expertise. Premium rates will apply to rush projects.
expertise within the firm while minimizing the cost to
                                                                We may modify our rates from time to time and will
you. We also utilize law clerks, paralegals, and legal
                                                                provide you notice of any change. A statement of
assistants to perform routine services, such as
                                                                rates is available at any time upon request.
information gathering, form preparation, and
research. These services are supervised by an                   Costs and Expenses
experienced attorney, but can be billed at
                                                                M&B may from time to time advance or incur costs
substantially lower rates.
                                                                and expenses on your behalf that we will charge to
Conflicts of Interest                                           you. Examples include court filing fees, deposition
                                                                or transcript fees, investigator’s fees and expenses,
The ethical rules governing the conduct of attorneys
                                                                consulting or expert witness fees and expenses, title
include specific limitations relating to conflicts of
                                                                company reports, long distance telephone charges,
interest. We will always comply with all ethical rules
                                                                photocopying, printing, computerized legal research,
and will undertake our role with the highest integrity.
                                                                travel expenses, messenger services, project staff,
As a result, we have performed a name check of our
                                                                legal assistant overtime, postage, and other similar
other clients to determine if our representation of you
                                                                costs. We do not seek to profit on these types of
would create such a conflict of interest. That check
                                                                expenses, but rather charge on a cost (including labor
was done using your name and other names you
                                                                and overhead) recovery basis only. Out-of-pocket
provided before we commenced working with you.
                                                                expenses paid to third parties on behalf of our clients
Please inform us immediately if you use other names
                                                                are charged to the client without markup except as
or have affiliated companies that you want entered
                                                                may be necessary to recover related labor and
into our conflicts system.
                                                                overhead. Although out-of-pocket expenses are your
Basis for Fees                                                  responsibility and we assume no liability for payment,
                                                                M&B may act on your behalf by advancing payment
Our fees are based upon a variety of factors,
                                                                to these providers if your account is current. We will
depending on the nature of the representation. The
                                                                consult with you prior to entering into any
principal factor is usually time spent on the matter.
                                                                commitments for substantial expense items.
You should expect to be charged for all time devoted
to the initial consultation through the conclusion of           For administrative convenience, if a client has
the project, including office conferences, telephone            multiple matters open with our firm, costs and
discussions, correspondence, review of documents                expenses may be charged to the general matter
and correspondence, research, travel, and any other             account unless other arrangements are requested.
time expended on your behalf. Other factors, in
addition to time, can include the novelty and
difficulty of the questions involved; the experience,




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Estimates                                                    Credit Reports
Clients sometimes request estimates of the fees and          We retain the right to intermittently obtain credit
costs, and we are pleased to provide a good faith            reports on you and your company and to inform
estimate of the amounts that are likely to be involved.      credit-reporting agencies regarding your account with
However, most legal work is inherently                       us.
unpredictable, and the total time, fees and costs that
                                                             Personal Guaranty
will be required to complete a project is subject to
many factors beyond our control. Our estimates,              All fees and costs incurred on behalf of clients that
therefore, are not binding bids or limitations on the        are entities are personally guaranteed by the owners
fees and expenses involved. Any fixed fee or other           of the entity.
fee limitation agreement must be in writing.
                                                             Monthly Invoices
Retainer Deposits
                                                             M&B typically bills monthly, with our monthly
Retainer deposits are required for various types of          billing cycle ending on the last day of each calendar
representation to partially secure payment of fees and       month. Our statements are mailed shortly thereafter
expenses. Retainer deposit moneys received from              and are payable in full upon receipt. Other billing
you will be placed in our client trust account, which        arrangements must be specifically provided for in
conforms to the rules and regulations of the Oregon          advance in our retainer agreement. A statement of
and Washington State Bars relating to IOLTA-                 account will be forwarded to you automatically each
Interest on Lawyer's Trust Accounts. If you have a           month if you have any outstanding invoices. For
retainer on deposit with us, we will draw against it to      matters involving multiple clients (e.g. husband and
satisfy our monthly statements for legal services            wife) responsibility for payment is joint and several.
rendered and out-of-pocket expenses. We reserve the          If you have any questions about the status of your
right to request additional retainer deposits as needed.     account, please contact us immediately.
If a request for an additional retainer deposit is not
                                                             For most of our clients, our invoices include the date
satisfied within the time specified, we reserve the
                                                             and description of the services provided and the
right to withdraw from representing you.
                                                             amount charged based upon the time equivalent value
Privacy Policy                                               of the task accomplished.           Time charges are
                                                             calculated in tenths of an hour, with a minimum
Attorneys, like other professionals who advise on
                                                             charge of 0.2 hour. We attempt to provide a
personal financial matters, are now required by
                                                             reasonable amount of detail; however, we do not
federal law to inform clients of their policies
                                                             undertake to provide precise and exhaustive detailing
regarding privacy of client information. Attorneys
                                                             of each and every act on behalf of a client. Please
are bound by professional standards of confidentiality
                                                             feel free to talk with us about the amount of detail and
that are even more stringent than those required by
                                                             format you desire for your invoices.
this new law. Therefore, we always protect your right
to privacy.                                                  Payment for Services
In the course of providing our clients with financial        Payment for services rendered is due upon receipt of
and tax advice, we receive significant personal              our statement for services. M&B accepts payment in
financial information from our clients.            All       cash or check and also accepts payment by Visa or
information that we receive from you is held in              Mastercard credit cards. If payment or a retainer
confidence, and is not released to people outside the        deposit is made by credit card, a 3% service charge
firm, except as agreed to by you, or as required under       will be applied to payments or deposits in excess of
an applicable law.                                           $1,000.00.
We retain records relating to professional services          Delinquent Accounts
that we provide so that we are better able to assist you
                                                             M&B, like other businesses, has substantial cash
with your professional needs and, in some cases, to
                                                             demands that require the firm to borrow money if its
comply with professional guidelines. In order to
                                                             accounts are not paid promptly. Thus, we add a late
guard your nonpublic personal information, we
                                                             payment charge to accounts not paid within thirty
maintain physical, electronic, and procedural
                                                             days of the invoice date. The late payment charge is
safeguards that comply with our professional
                                                             currently assessed at a standard rate of 1.5% per
standards.
                                                             month (18% annual rate) on any unpaid balance. In
                                                             the event that an account becomes delinquent, the


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firm must employ the same prudent collection
procedures used by other businesses. We will cease
providing legal services for any client having an
outstanding balance for 60 days or more. If any suit,
action, arbitration or other proceeding is commenced
to collect from you, the prevailing party will be
entitled to an award against the other party for
reasonable attorney fees and costs incurred in
collection. We reserve all liens and security interests
allowed by law and reserve the right to disclose your
personal financial information to third parties to
collect a delinquent account.
Governing Law
The parties agree that any suit, action, arbitration, or
other claims filed for collection or otherwise shall be
brought and construed in accordance with the laws of
the State of Oregon and the parties submit to the
exclusive jurisdiction of any state or federal court
located in Oregon.
Termination of Services
You may terminate the employment of our firm at any
time, subject to the payment of any outstanding fees
and costs. Likewise, we retain the right to cease
performing legal services and to terminate our
representation of you for any reason consistent with
the applicable ethical rules, including unanticipated
conflicts of interest or nonpayment of legal fees and
expenses incurred on your behalf. In the event of
termination, we may obtain a lien upon any of your
documents in our possession, or upon the proceeds of
any judgment or settlement entered in your favor,
until payment in full is received.
File Retention
When we have completed work on a legal matter, we
will close the matter, electronically store the paper
file, and then destroy the paper file unless you
provide other disposition instructions at the time of
closing the matter. Closed paper and electronic files
will not be stored indefinitely.




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                                        SERVICES & CREDENTIALS
         MOTSCHENBACHER & BLATTNER LLP provides experienced legal counsel to Pacific Northwest
privately held companies and their owners, and represents out-of-state corporations with interests in the states of
Oregon and Washington. The business, financial, accounting, and construction backgrounds of our lawyers provide
uniquely integrated legal and business counsel to our clients’ challenges and opportunities.

          Partners Anthony J. Motschenbacher, Christopher C.S. Blattner, Gregory J. Englund, and Nicholas J.
Henderson have more than 90 years of combined legal experience, including practice with two of the region’s
largest law firms. Establishing their own firm has given them the opportunity to deliver personalized, high caliber
legal counsel without the fee constraints and multiple client conflicts associated with larger firms.

           The firm’s practice includes business and professional practice formations and dissolutions, contracts,
shareholder disputes, business succession planning, mergers and acquisitions, private placements of securities,
finance, tax, intellectual property, real estate, employment issues, estate planning, debtor-creditor and bankruptcy,
civil litigation and related services. The firm serves the legal needs of a multiplicity of businesses, including
privately held corporations, family businesses, medical, dental, and veterinary practices, real estate developers,
construction companies, oil companies, high technology firms, artistic and creative businesses, designers, service
providers, non-profit organizations, financial institutions and US representation of foreign companies.

         Tony Motschenbacher earned his undergraduate degree (a double major in finance and management) from
the University of Oregon, ranking in the top 10% of his class. He ranked third in his 1990 graduating class at
Willamette University College of Law (magna cum laude), serving as Associate Editor of the Willamette Law
Review and on the Moot Court Board. Tony heads the firm’s business and construction departments. Prior to
forming the firm in 1996, Tony was associated with Preston Gates & Ellis’ Portland office. Prior to joining Preston,
Tony was in private practice at Schwabe, Williamson & Wyatt. Tony is the past vice-chair of the Oregon State Bar
Board of Bar Examiners and currently an adjunct professor of Business Law (ACTG 485/585) at Portland State
University. Outside of work, Tony is very active with youth sports. He has been a baseball manager for numerous
Little League, Babe Ruth and high school baseball teams. He has also been a basketball and baseball coach at
Lincoln High School. Tony also served as Trustee with First Christian Church.

          Chris Blattner graduated from Willamette University before receiving his Juris Doctorate from Lewis &
Clark Law School. In addition to real estate, commercial litigation and business transactions, Chris heads the firm’s
litigation and intellectual property departments. He also has substantial experience with scuba liability defense
litigation, a legal emphasis that has grown from his personal avocation for the sport. Chris is a longtime member of
the board of Complementary Healthcare Plans, Inc., a provider of networks of alternative medicine professionals.
Chris is a board member and president of the Riverside Golf and Country Club. He also donates times to local
charities and his church.

         Greg Englund earned both his undergraduate and law degrees at Willamette University, where he was
Associate Editor of the Willamette Law Review. After practicing over 20 years with the Portland firm of Hooper,
Englund & Weil LLP, he joined the firm in 2013. Greg specializes in representing buyers and sellers in professional
practice and business sales, transactions, acquisitions and mergers, and in contracts and entity formation. Greg
currently serves as a member of the Board of Trustees for Warner Pacific College. He shares his areas of expertise
in regular appearances speaking before dental and other groups.

          Nick Henderson earned his undergraduate degree (major in mathematics and minor in business) from the
University of Utah and his Juris Doctorate from Lewis & Clark Law School. Nick’s practice areas include business
and commercial litigation, debtor-creditor law and bankruptcy. Nick assists small businesses with collection issues
and bankruptcy litigation, including preference and non-dischargeability matters. Nick’s practice also focuses on
assisting small businesses and their owners reorganize through Chapters 11 and 13 of the Bankruptcy Code. Prior to
joining the firm, Nick was in private practice at Henderson Trauman, P.C.
         Alex Trauman earned his undergraduate degree from Oregon State University and his Juris Doctorate from
Lewis & Clark Law School. Alex’s practice areas include business transactions, business litigation, real estate, and
employment law. Alex regularly presents seminars on client development and legal marketing. Prior to joining the
firm in 2009, Alex was in private practice at Henderson Trauman, P.C.



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         Troy Sexton earned his undergraduate degree (double major in philosophy and political science) from
Portland State University and his Juris Doctorate from Lewis & Clark Law School. He was an associate editor of
Lewis & Clark Law School’s nationally acclaimed law review Environmental Law, and a Business Law Roundtable
Scholar. Troy’s practice areas include business transactions, litigation, and bankruptcy. Prior to joining the firm,
Troy clerked for the firm and for the Small Business Legal Clinic.
         Jeremy G. Tolchin earned his undergraduate degree from University of California, Santa Barbara and his
Juris Doctorate from University of San Diego School of Law. Jeremy’s practice areas include business, commercial,
and real estate litigation, business transactions, and employment matters. Prior to joining the firm, Jeremy was an
associate attorney at law firms specializing in insurance defense, business, real estate litigation, and civil litigation.

         Tina Walker serves as office manager and paralegal.

          MOTSCHENBACHER & BLATTNER LLP is honored to have received the highest rating attainable (AV) in the
Martindale-Hubbell Peer Review Rating and to be among those attorneys designated as Super Lawyers and Rising
Stars in the Oregon 2016 Super Lawyers Magazine.

         We welcome you to visit the firm’s website at www.portlaw.com.




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                 STATEMENT OF POLICY CONCERNING FEDERAL TAX ADVICE
         Federal legislation and implementing regulations have established substantial penalties for taxpayers who fail
to report on a special form tax return items arising from so-called “reportable transactions.” “Reportable
transactions” are transactions, events, plans, or other arrangements identified by Congress or the Treasury Department
as including elements associated with potentially abusive tax shelters. However, it is well accepted that many
legitimate transactions may also include such elements and, therefore, may also be classified as “reportable
transactions.”

          The “reportable transaction” rules also impose duties upon law firms that provide tax advice or services
relating to such “reportable transactions.” Consequently, it is possible that MOTSCHENBACHER & BLATTNER LLP may
become subject to these rules in connection with advice or services provided to you regarding a legitimate transaction
or arrangement. If so, MOTSCHENBACHER & BLATTNER LLP will be obliged to notify the Internal Revenue Service
that it has provided services in connection with what may be a “reportable transaction.” MOTSCHENBACHER &
BLATTNER LLP will also be required to maintain a file containing information and documents relating to the
transaction or arrangement in question for production to the Internal Revenue Service upon written request. The
existence of the attorney-client privilege is no excuse for non-compliance with these rules, although specific items of
otherwise disclosable information may be privileged. Prior to taking any steps that may be required under the
“reportable transaction” rules, MOTSCHENBACHER & BLATTNER LLP will consult with you concerning the possibility
that a given transaction or arrangement may be a “reportable transaction” and, as appropriate, coordinate its
disclosure and record-maintenance efforts with any taxpayer reporting obligations to which you may be subject. We
will also discuss with you, as appropriate, the possible invocation of the attorney-client privilege. Because these
consultations and related reporting and record-maintenance activities can sometimes involve a substantial effort by
our attorneys and paralegals and because, by law, they are a necessary consequence of assisting you in connection
with a transaction or arrangement that includes one or more elements making it a “reportable transaction,” absent
special arrangements to the contrary, MOTSCHENBACHER & BLATTNER LLP will treat them as an additional
component of its engagement by you, for which you agree to compensate MOTSCHENBACHER & BLATTNER LLP in
accordance with this policy unrelated to any special fee arrangements that may otherwise apply.

          Independent from the “reportable transaction” rules, the Department of the Treasury has issued regulations
that govern practitioners, including MOTSCHENBACHER & BLATTNER LLP attorneys, who provide advice or services
to clients in matters that may have federal tax consequences. Congressional legislation enacted in 2004 has
confirmed the authority of the Treasury to implement these regulations. One consequence of these regulations is that
a practitioner may not provide written advice, including electronic mail messages, upon which a taxpayer may rely
for tax penalty protection purposes, unless the practitioner has engaged in a careful review of all potentially relevant
facts and has evaluated all of the reasonably applicable tax issues, including judicial doctrines. In addition, under
these regulations, certain categories of written advice (so-called “Covered Opinions”), including many opinions
intended for penalty protection, must satisfy certain additional requirements. Among other things, Covered Opinions
must describe in detail each of the facts and any reasonable assumptions being relied upon, must address every
reasonably applicable federal tax issue, including judicial doctrines, and must include, depending upon the
circumstances, a variety of mandatory disclosures.

         Because of the time, effort, and expense involved in preparing written advice that will satisfy the
requirements applicable to Covered Opinions, MOTSCHENBACHER & BLATTNER LLP has adopted a policy now
becoming common among many accounting and law firms: MOTSCHENBACHER & BLATTNER LLP will not undertake
the special efforts required to comply with the Covered Opinion rules unless you have expressly requested written
advice for the specific purpose of tax penalty protection. For this reason, you may expect to receive written
documents, including electronic mail messages, stating that any tax advice or recommendation included in the text of
the document is not intended for tax penalty protection and that you may not rely upon it for that purpose. This
disclaimer is not intended to limit MOTSCHENBACHER & BLATTNER's obligation to you to provide competent tax
advice. Its only purpose is to avoid the necessity of complying with the Covered Opinion rules unless you have
specifically requested a Covered Opinion for tax penalty protection purposes.



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                           Driving Directions to:
                      MOTSCHENBACHER & BLATTNER LLP
                              117 SW TAYLOR STREET, SUITE 300
                                  PORTLAND, OR 97204-3029
                                  TELEPHONE: 503-417-0500
                                     www.portlaw.com

From the north:
On I-5 southbound: Shortly after passing the Rose Garden Arena exit and the exit for I-84, take
Exit 300B (signs for highways 26E and 99E). Stay to the right and take the ramp for downtown,
which will put you on the Morrison Bridge westbound. At the west end of the bridge, take the
exit on the right for I-5. Bear right (south) onto SW Front Avenue (also known as SW Naito
Parkway). Use the center lane. Drive 3 blocks on SW Front Avenue to SW Taylor Street; turn
right (west) on SW Taylor Street. Drive one block to the intersection of SW 1st Avenue and SW
Taylor Street.

From the south:
On I-5 northbound: Take exit 299B (I-405 and US 26 East (left exit), be in the left lane of I-5).
Immediately thereafter, take exit 1A (Front Ave./National Historic District). Stay in the right
lane. At the third traffic light turn right (north) on SW Front Avenue. (also known as SW Naito
Parkway). Drive five blocks north to SW Taylor Street. Turn left (west) on SW Taylor Street.
Drive one block to intersection of SW 1st Avenue and SW Taylor Street.

From the east:
I-84 westbound: Take 99E/City Center exit; stay right at split. Cross the Morrison Bridge
westbound. At the west end of the bridge, take the exit ramp on the right marked for I-5.
Continue right onto SW Front Avenue (also known as SW Naito Parkway). Use the center lane.
Drive 3 blocks south on SW Front Avenue to SW Taylor Street; turn right (west) onto SW
Taylor Street. Drive one block to the intersection of SW 1st Avenue and SW Taylor Street.

From the west:
On the Sunset Highway (US 26) eastbound: Take the middle lane through the tunnel for the
Market Street/City Center exit. On Market Street, stay in the left lane. Turn left (north) on SW
12th, 10th, Park, 4th, or 2nd Avenue. Drive north 6 blocks to SW Salmon Street. Turn right (east)
on SW Salmon Street to SW 1st Avenue. Turn left on SW 1st Avenue; drive one block to
intersection of SW 1st Avenue and SW Taylor Street.




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                   117 SW TAYLOR STREET, SUITE 300
                         PORTLAND, OR 97204-3029
                            Telephone: 503-417-0500
                                   www.portlaw.com

    LEGEND                                                      We are located in the Yamhill Historic District on
   Smart Park Garages                                          Taylor Street and 1st Avenue. Metered on-street
    (enter at 4th Avenue & Taylor Street; 3rd Avenue            parking is available. Smart Park garages are close
     & Alder Street; or 4th Avenue & Morrison Street)           to our offices and offer the best availability and
   Other nearby parking lots                                   parking rates. Please see the adjacent legend for
    Shaded areas are restricted to buses and MAX lines          parking lot locations.




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